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11    UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14    UNITED STATES OF AMERICA,                No. CR 2:20-326(A)-JFW-2

15               Plaintiff,                    REVISED JOINT SUMMARY OF THE CASE;
                                               ATTACHMENT A
16                     v.
                                               Trial Date:      March 12, 2024
17    RAYMOND SHE WAH CHAN,                    Trial Time:      8:30 AM
        aka “She Wah Kwong,”                   Location:        Courtroom of the
18                                                              Hon. John F. Walter
                 Defendant.
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21          Plaintiff United States of America, by and through its counsel
22    of record, the United States Attorney for the Central District of
23    California and Assistant United States Attorneys Cassie D. Palmer,
24    Susan S. Har, and Brian R. Faerstein, and defendant RAYMOND SHE WAH
25    CHAN, by and through his counsel of record, John Hanusz and Michael
26    G. Freedman, hereby submit their Revised Joint Summary of the Case,
27    pursuant to the Court’s most recent Trial Order in this matter.             (See
28    Dkt. No. 1071.)
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1           The parties have reviewed the Court’s Summary of the Case from

2     the prior trial in this matter (Dkt. No. 954-1) and have agreed to

3     several revisions that are intended: (1) to conform the summary of

4     the case with the parties’ factual stipulations and the expected

5     evidence at trial; (2) to achieve conformity with the government’s

6     theories of liability and the most recent version of the jury

7     instructions; and (3) to correct typographical errors and ensure

8     internal consistency.

9           A clean version of the parties’ revised joint summary is

10    included in the body of this filing.        To assist the Court in

11    identifying the agreed-upon revisions, Attachment A hereto is the

12    joint summary with the revisions shown in redline for the Court’s

13    convenience.

14     Dated: February 23, 2024             Respectfully submitted,

15                                          E. MARTIN ESTRADA
                                            United States Attorney
16
                                            MACK E. JENKINS
17                                          Chief, Criminal Division

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19                                          CASSIE D. PALMER
                                            SUSAN S. HAR
20                                          BRIAN R. FAERSTEIN
                                            Assistant United States Attorneys
21
                                            Attorneys for Plaintiff
22                                          UNITED STATES OF AMERICA

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24     Dated: February 23, 2024              /s/ per email authorization
                                            MICHAEL G. FREEDMAN
25                                          JOHN HANUSZ
                                            Attorneys for Defendant
26                                          RAYMOND SHE WAH CHAN
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1                          REVISED JOINT SUMMARY OF THE CASE

2           This is a federal criminal case against defendant Raymond Chan

3     (“defendant Chan”).      From May 2013 to May 2016, defendant Chan was

4     the head of the Los Angeles Department of Building and Safety

5     (“LADBS” or “Building and Safety”) and oversaw operations of five

6     bureaus and the approval of tens of thousands of building projects

7     annually.    From May 2016 to June 2017, defendant Chan was the Deputy

8     Mayor of Economic Development for the City of Los Angeles (the

9     “City”).    In this role, defendant Chan oversaw the heads of seven

10    City departments, including his former department (LADBS) as well as

11    the Department of City Planning (the “Planning Department”).

12          From 2005 through October 2020, Jose Huizar was the

13    Councilmember for Los Angeles Council District 14 (or “CD-14”), which

14    spanned much of downtown Los Angeles.         From 2013 through November

15    2018, Huizar was the Chair of City Council’s Planning and Land Use

16    Management (or “PLUM”) Committee, which oversees the approval of

17    large-scale commercial and residential real estate development

18    projects.    The City Council approval process for large-scale real
19    estate development projects required numerous official actions by

20    public officials like Huizar.

21          The government alleges that defendant Chan was a member of a

22    racketeering conspiracy, led by Huizar, along with Huizar’s special

23    assistant, George Esparza; a consultant, George Chiang; and others.

24    According to the Government, the racketeering conspiracy consisted of

25    an agreement to operate a pay-to-play scheme within the City, wherein

26    defendant Chan, Huizar, Esparza, and other public officials
27    solicited, agreed to receive, and received financial benefits from

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1     developers, and their representatives, like Chiang, in exchange for

2     official acts.

3           As part of the racketeering conspiracy, the government alleges

4     that defendant Chan facilitated, aided, and abetted corrupt

5     relationships between Huizar and certain real estate developers with

6     whom defendant Chan had relationships.         Those developers allegedly

7     provided financial benefits to Huizar in exchange for favorable

8     official acts relating to their real estate development projects that

9     required various City approvals.        The Government alleges that one

10    such developer was Chairman Wei Huang, a Chinese national and real

11    estate developer, who through his wholly owned company, Shen Zhen New

12    World I, LLC (“Shen Zhen”), acquired the L.A. Grand Hotel Downtown

13    (“L.A. Grand Hotel”) located in Huizar’s Council District, CD-14

14    Huang planned to redevelop the 13-story L.A. Grand Hotel into a 77-

15    story skyscraper.     According to the Government, defendant Chan

16    introduced Huang to Huizar.

17          Following defendant Chan’s introduction, the government alleges

18    that Huang provided a series of bribes and benefits to Huizar in
19    exchange for his future official acts to secure the various approvals

20    the L.A. Grand Hotel redevelopment project would need from the City

21    Council.    The bribes defendant Chan allegedly aided and facilitated

22    included Huang arranging for and providing $600,000 in collateral in

23    support of a loan to Huizar for the purpose of confidentially

24    settling a sexual harassment lawsuit filed against Huizar in 2013 by

25    a former staff member.       According to the Government, as a result of

26    the collateral Huang provided, Huizar was able to settle the lawsuit
27    in late 2014 and was successfully re-elected to his CD-14 seat in

28    2015.

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1           The government alleges that Huang’s bribes to Huizar, which

2     generally were known to defendant Chan, also included: (1) all-

3     expense-paid trips, including stays at luxury hotels and flights on

4     private jets and commercial airlines; (2) over $200,000 in gambling

5     chips at casinos in Las Vegas and Australia; (3) escort and

6     prostitution services; and (4) planning political fundraisers for and

7     pledging political contributions to Huizar’s wife’s election campaign

8     for Huizar’s CD-14 seat in 2020.

9           The government alleges that defendant Chan also introduced

10    Huizar to Chairman Fuer Yuan, another Chinese national and real

11    estate developer, who through his company Jia Yuan USA Co., Inc.,

12    also known as “Hazens,” acquired the Luxe City Center Hotel in

13    downtown Los Angeles.      Yuan planned to redevelop the Luxe Hotel

14    property into a $700 million mixed-use development to include 80,000

15    square feet of commercial space, 650 residential units, and 300 hotel

16    rooms (the “Luxe Hotel Project”).        Chiang, as the owner of Synergy

17    Alliance Advisors (“Synergy”), acted as an agent for Hazens and

18    Chairman Yuan.     The government alleges that, beginning in
19    2014, Chairman Yuan, through Chiang, and facilitated by defendant

20    Chan, provided a series of bribes and benefits to Huizar in exchange

21    for future official acts to secure various entitlements for the Luxe

22    Hotel.

23         The government alleges that while defendant Chan still worked

24    for the City, defendant Chan agreed with Chiang that Chiang would pay

25    a portion of the Synergy consulting fees to defendant Chan in

26    exchange for his assistance on the Luxe Hotel Project in his official
27    capacity, including by exerting power over and influence on various

28    City departments like the Planning Department and the City Planning

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1     Commission (or “CPC”), and on Councilmember Huizar, the Chair of

2     PLUM, to take official acts favorable to the Luxe Hotel Project.

3          After defendant Chan retired from the City in July 2017, he

4     officially began working with Chiang at Synergy, and they also formed

5     CCC Investment Inc. (“CCC”), a real estate brokerage firm.            The

6     government alleges that, as payment for his official acts while he

7     was a public official with the City, defendant Chan benefitted by 50%

8     of monthly consulting fees and over half-a-million dollars of shared

9     bonus payments from Hazens to Synergy.         The government alleges that,

10    in August 2017, shortly after leaving the City, defendant Chan formed

11    LABXG Inc. to receive payments from Synergy.          The government alleges

12    that, after he left the City and became a private consultant,

13    defendant Chan continued to further the goals of the racketeering

14    conspiracy by seeking to bribe other public officials, including

15    Huizar’s Planning Director, to perform favorable official acts for

16    the Luxe Hotel Project and projects for other Synergy clients,

17    including through indirect financial payments to the public

18    officials’ relatives.
19         In November 2018, the Federal Bureau of Investigation (or the

20    “FBI”) conducted an interview of defendant Chan regarding Huizar and

21    Chairman Huang of Shen Zhen.       According to the government, during the

22    interview, defendant Chan falsely stated that he was not involved

23    with the settlement of Huizar’s 2013 sexual harassment lawsuit.

24         According to the government, during the interview, defendant

25    Chan also falsely stated that Huang did not have anything in front of

26    Huizar that needed Huizar’s help or involvement, and that Huang never
27    asked Huizar for anything.

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1          Based on these allegations, defendant Chan is charged with:

2          •      Conspiracy to engage in racketeering activity;

3          •      Aiding and abetting wire fraud through a scheme to deprive

4                 the City of Los Angeles and its citizens of their right to

5                 honest services of their public officials through bribery,

6                 in connection with Shen Zhen’s L.A. Grand Hotel;

7          •      Wire fraud, and aiding and abetting wire fraud, through a

8                 scheme to deprive the City of Los Angeles and its citizens

9                 of their right to honest services of their public officials

10                through bribery, in connection with Hazens’ Luxe Hotel

11                Project;

12         •      Aiding and abetting bribes to Huizar from Shen Zhen and

13                Hazens;

14         •      Agreeing to accept and accepting bribes as a public

15                official, in connection with Hazens’ Luxe Hotel Project;

16                and

17         •      Making false statements to the FBI.

18         Chan denies that he was a member of a racketeering conspiracy;
19    denies that he facilitated, aided, and abetted corrupt relationships

20    between Huizar and real estate developers; denies that he agreed to

21    use his official position to pressure any City officials to benefit

22    the Luxe Hotel Project; denies that he asked for or received any

23    benefits in exchange for any official acts; denies that he bribed

24    other public officials to perform favorable official acts for the

25    Luxe Hotel Project or any other projects for other Synergy or CCC

26    clients; and denies that he made any false statements to the FBI.
27          Defendant Chan is presumed innocent of all of the charges

28    alleged against him in the indictment and the government must prove

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1     each of the elements of each offense charged beyond a reasonable

2     doubt.

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